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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION

UNITED STATES OF AMERICA,                                   )
                                                            )
v.                                                          )
                                                            )       CRIM. ACTION NO.
MITZI BICKERS,                                              )
         Defendant,                                         )       1:18-CR-98-SCJ-LTW
                                                            )
ANYTIME BAIL BONDING,                                       )
    Third Party Claimant.                                   )

              VERIFIED CLAIM OF ANYTIME BAIL BONDING, INC.

          COMES NOW, Anytime Bail Bonding, Inc. (hereinafter “Claimant”) by and

through undersigned counsel and hereby files this Claim, pursuant to 21 U.S.C. §

853(n). In support of this Claim, Claimant shows as follows:



I.        BACKGROUND

          Mitzi Bickers [hereinafter “Bickers”] was indicted in the above-styled criminal

case on or about March 27, 2018. (Doc. 1). The indictment contained a forfeiture

provision which averred that upon conviction of one or more of the offenses alleged

in Counts 1, 2, 6, 7, 8 and 9, certain property would be forfeitable to the Government,

including real property at 3306 Bay View Drive, Jonesboro, Georgia 30236

[hereinafter “Bay View Drive property”]. (Doc 1, ¶ 71(a)).



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       On August 27, 2018, the Government filed an ancillary civil Complaint for

Forfeiture pursuant to 18 U.S.C. § 981(a)(1)(A) against personal and real property

purchased by Bickers including the Bay View Drive property. (See Docket in

1:18-cv-04054-JPB, Doc 1). Claimant filed a verified claim as to the Bay View Drive

property on October 18, 2018. (Id. at Doc 25). Claimant filed an Answer to the

Complaint for Forfeiture on November 8, 2021. (Id. at Doc. 29). Thereafter the

Government filed a Motion to Stay proceedings which was granted, thus staying the

civil forfeiture action until the resolution of Bickers’ criminal case. (Id. at Doc 32 and

Doc. 46).

       Bickers’ trial took place in March 2022 and a jury found her guilty on Counts

1, 4-10 and 12. (Doc. 188 - 213). On March 24, 2022, Bickers consented to forfeiture

of six separate pieces of personal and real property including the Bay View Drive

property. (Doc. 214). The Order of Forfeiture directed the Government to send

written notice to potential claimants with standing to contest the forfeiture of any of

the referenced properties. The Order stated that pursuant to 21 U.S.C. §853(n)(2),

any person “asserting a legal interest in the property may within thirty days of the

final publication of the notice or their receipt of the notice, whichever is earlier,

petition the Court for a hearing without a jury to adjudicate the validity if their

alleged interest in the property and for an amendment to the order of forfeiture.”



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(Doc. 214 at p. 3). Pursuant to the Government’s Declaration of Publication, the final

publication was on June 22, 2022. On June 27, 2022, the Government provided

written notice to Claimant through counsel. Thus, this Claim is timely.



B.     CLAIM IN COMPLIANCE WITH 21 U.S.C. §853(n)(2)

       In compliance with the requirements of 21 U.S.C. §853(n)(2) and (3), Claimant

hereby contests the forfeiture of the Bay View Drive property which was forfeited to

the United States of America. Claimant asserts a legal right and an interest in the real

property commonly referred to as 3306 Bay View Drive, Jonesboro, Georgia 30236.

Claimant asserts that it possessed a legal right, title, or interest in the property, and

such right, title, or interest renders the Order of Forfeiture invalid in whole or in part

because the right, title, or interest was vested in Claimant rather than Bickers and was

superior to any right, title, or interest of Bickers at the time of the commission of the

acts which gave rise to the forfeiture of the property under this section. 21 U.S.C.

§853 (n)(6).

       Pursuant to 21 U.S.C. § 853(n)(3), Claimant sets forth the nature and extent of

the right, title, or interest in the property, the time and circumstances of the

Claimant’s acquisition of the right, title, or interest in the property, and additional

facts supporting the claim, as follows:



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       In 2016, Claimant made a loan to Bickers in an arm’s length transaction.

Repayment of the loan was secured by a first priority deed to secure debt identifying

the secured collateral as the 3306 Bay View Property. The security deed evidencing

the loan was properly recorded in the real estate records of Henry County, Georgia,

on November 14, 2016, in Deed Book 14926, pages 323-327 (hereinafter, including

all renewals, amendments, extension, or modifications thereof, the “3306 Bay View

Security Deed”). Ultimately, Defendant Bickers failed to repay the indebtedness

secured thereby and Claimant elected to exercise its remedies, to wit: acceptance of

a deed in lieu of foreclosure (hereinafter “Deed in Lieu”).1 At the time of the

acceptance and recording of the Deed in Lieu, there were no potential encumbrances

on title as a matter of public record.

       However, after the Deed in Lieu was accepted and recorded, it was discovered

that the Government had recorded a Notice of Lis Pendens identifying the 3306 Bay

View Property as the subject of a forfeiture action. The lis pendens was not readily

apparent in the public deed records as of the date that Claimant received the Deed in

Lieu, nor as of the date of the recording of the Deed in Lieu, as the recording of the


       1
             The Quitclaim Deed in Lieu of Foreclosure is from Defendant
Bickers to Claimant, dated April 9, 2018 and recorded on April 10, 2018 in Deed
Book 15791, pages 290-292, in the official public land records fro Henry County,
Georgia. A true and correct copy of the Deed in Lieu is attached hereto as Exhibit
“A.”

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lis pendens occurred in the “gap period.” In real estate parlance, the gap period is the

delay between the date an instrument is recorded and the time that the instrument is

publicly available or visible in the public record. The gap period is caused by delays

inherent in the contemporary deed recording process.

       Accordingly, Claimant hereby asserts its claim, as the fee simple owner of 3306

Bay View Property as an innocent lienholder who took title to the 3306 Bay View

property in good faith and satisfaction of the debt of Defendant.

       Claimant further is the owner and holder of such other rights in the Bay View

property and/or remedies that may apply under the circumstances at law or in equity.

       To the extent there are any title defects on Claimant’s interest in the Bay View

property by virtue of the acceptance of the Deed in Lieu, Claimant hereby asserts

such rights to which it may be entitled, at law or in equity, that may be necessary to

restore Claimant’s rights prior to acceptance of the Deed in Lieu.



       WHEREFORE, Claimant prays for the following relief:

       (a)     That this Court accept this Claim to the Bay View Property which is

               signed by the Claimant under penalty of perjury;

       (b)     That this Court conduct a hearing, consistent with the interest of

               justice, within thirty (30) days or as soon as practical;



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     (c)     That this Court enter an Order finding that Claimant has established

             by a preponderance of the evidence that it has a legal right, title and

             interest in the 3306 Bay View Property which renders the Order of

             forfeiture invalid; and

     (d)     That this Court afford Claimant such other and further relief this

             Court deems just and proper.



     This 11th day of July, 2022.

                                                       Respectfully submitted,

                                                       /s/ Brian Steel
                                                       BRIAN STEEL
                                                       GA Bar No. 677640

                                                       /s/ Colette Resnik Steel
                                                       COLETTE RESNIK STEEL
                                                       GA Bar No. 601092

                                                       Attorneys for Claimant Anytime Bail
                                                             Bonding, Inc.




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                               CERTIFICATE OF SERVICE

          I hereby certify that I have served the foregoing VERIFIED CLAIM OF

ANYTIME BAIL BONDING, INC. on the individual listed below by electronic

filing:

                                  Kelly Kathleen Connors
                               United States Attorney’s Office
                                Richard B. Russell Building
                                          6th Floor
                                    75 Ted Turner Drive
                                     Atlanta, GA 30303

          This the 11th day of July, 2022.

                                                         Respectfully submitted,


                                                         /s/ Brian Steel
                                                         BRIAN STEEL
                                                         GA Bar No. 677640
                                                         Attorney for Defendant




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